Case 5:16-cv-10444-JEL-EAS ECF No. 2466-4, PageID.81023 Filed 05/19/23 Page 1 of 9




         EXHIBIT 16
        Case 5:16-cv-10444-JEL-EAS ECF No. 2466-4, PageID.81024 Filed 05/19/23 Page 2 of 9
From: Nicholas, Robert [robert.nicholas@veolia.com]
Sent: Wednesday, February 18, 2015 4:02 PM
To: jlorenz@cityofflint.com; Elizabeth Murphy; Howard Croft; gambrose@cityofflint.com
BCC: Robert Nicholas
Subject: Copy of Presentation
Attachments: Flint Public Works Committee Interim Report V6 - Final.pptx

Good Afternoon

You will find attached a copy of the presentation for this afternoon.




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RoberLNicholas@veolia.com


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I o Provide a review of current                                                                                                                      I                    i (I
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I o Engage staff, visit facilities                                                                                                                   I                            0 ~~'::                     :'~:~:~:~;::1dations for                                                                                         I
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I o Make interim report                                                                                                                              I                    iI
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                                            Items of Note
•        Not in scope - studying why the change from DWSD or the history of the utility
•        What we found -A very frustrated community and a staff trying to solve the problem,
           having some success but frustrated with the pace of change

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                                                                 o City,state, news media, universities and
                                                                   other groups
                                                                 o Safe = compliance with state and federal
                                                                   standards and required testing
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                                                                 o More   than 20,000 tests required annually
                                                                   for city
                                                                 o Strict testing requirements in place (what

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     o Old cast iron pipes                                                                                                                                                                                                Location of water quality complaints
     o Always has been some                                                                                                                                                                                             The last 12 months - fewer than you think
       discolored water problems -
       mostly after water breaks
     o Efforts to reducing TTHM
       didn't help discoloration
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     o City   will test the water at
          your home - call 787-6537
          or email
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     o Tracking   customer
          complaints is important

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                         Case 5:16-cv-10444-JEL-EAS ECF No. 2466-4, PageID.81030 Filed 05/19/23 Page 8 of 9




     o    Adjust the chemicals being fed -
          stop some, increase some and
          change some
     o    Provide better monitoring of water
          quality to help make adjustments
     o    Continue repair or replacement of
          broken parts
     o    Reduce the over capacity of the
          distribution system
     o    Do a better job explaining what is
          happening
     o    Do a better job of asking for help




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Case 5:16-cv-10444-JEL-EAS ECF No. 2466-4, PageID.81031 Filed 05/19/23 Page 9 of 9   N
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